
24 So.3d 867 (2010)
STATE ex rel. John HILL
v.
STATE of Louisiana.
No. 2009-KH-4619.
Supreme Court of Louisiana.
January 8, 2010.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 *868 (La.1/12/96), 665 So.2d 1172; see also La.C.Cr.P. art. 930.4(D).
